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1
                                                          January 5, 2021
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3                                                              VPC

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6                              UNITED STATES DISTRICT COURT
7
                          CENTRAL DISTRICT OF CALIFORNIA
8
     WELLS FARGO BANK, N.A.,                     Case No.: 2:20-cv-06248-SB-SK
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10                Plaintiff,
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                                                 ORDER TO SHOW CAUSE (OSC)
     vs.                                         RE: SANCTIONS FOR FAILURE TO
12                                               SUBMIT JOINT RULE 26(F) REPORT
     MAYFLOWER REMODELERS, INC.,
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     ET. AL,
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                  Defendants.
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           Wells Fargo Bank, N.A. filed this interpleader action on July 14, 2020. The
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     previously assigned judge in this case issued an order setting a scheduling
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     conference on January 8, 2021 and directing the parties to submit a Joint Rule 26(f)
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     Report by no later than 14 days before the conference. The parties have failed to
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     submit a report. The Court therefore vacates the January 8, 2021 scheduling
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     conference and issues the orders below instead.
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           IT IS HEREBY ORDERED that the parties that have appeared in this action
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     are to show cause, on January 22, 2021 at 8:30 a.m., why sanctions should not be
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     imposed against them and/or their respective counsel for failure to comply with the
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     Court’s order. See, e.g., Fed. R. Civ. P. 16(f) (authorizing sanctions for “fail[ure]
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     to obey a scheduling or other pretrial order”).
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             IT IS FURTHER ORDERED that the parties are to submit a declaration in
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     response to the OSC and a Joint Rule 26(f) Report by no later than January 12,
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     2021.
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     DATED: January 5, 2021                   _______________________________
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                                                   Stanley Blumenfeld, Jr.
9                                                 United States District Judge
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